           Case 4:16-cv-07387-JSW Document 215 Filed 01/24/22 Page 1 of 4



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 7

 8                                   UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA
10    PARKRIDGE LIMITED, a Hong Kong                   CASE NO. 16-CV-07387-JSW
      Corporation, by Mabel Mak and MABEL
11    MAK, an individual,                              OPPOSITION TO PARKRIDGE
                                                       LIMITED’S MOTION IN LIMINE #1 TO
12                                                     EXCLUDE IMPROPERLY OR
                           Plaintiffs,
                                                       INSUFFICIENTLY DISCLOSED
13                                                     WITNESSES
               v.
14                                                     Date:    February 4, 2022
      INDYZEN, INC., a California Corporation,         Time:    9:00 a.m.
15    and PRAVEEN NARRA KUMAR, an                      Dept.:   Courtroom 5, 2nd Floor
      individual                                       Judge:   Hon. Jeffrey S. White
16
                           Defendants.
17

18    INDYZEN, INC., a California Corporation,
19                         Counter-Claimant,
20
               v.
21
      PARKRIDGE LIMITED, a Hong Kong
22    Corporation and RANDY GENE
      DOBSON, an individual,
23
                          Counter-Defendants.
24

25             Indyzen, Inc. hereby submit its opposition to Plaintiff Parkridge Limited’s (“Parkridge”)
26   motion in limine to exclude potential witnesses who have been improperly or insufficiently
27   disclosed by Indyzen, Inc. (“Indyzen”).
28   ///
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      OPPOSITION TO PARKRIDGE LIMITED’S MOTION IN LIMINE #1 TO EXCLUDE IMPROPERLY OR
      INSUFFICIENTLY DISCLOSED WITNESSES
       Case 4:16-cv-07387-JSW Document 215 Filed 01/24/22 Page 2 of 4



 1                 I.       ADMISSIBILITY SHOULD BE DETERMINED AT TRIAL

 2      Wholesale exclusion of all witness testimony via Motion in Limine is overly broad and

 3   Parkridge feigning ignorance as to the identification or subject matter of every witness and

 4   potential testimony is not credible. The facts are well developed, and multiple issues have been

 5   fully adjudicated in the Arbitration, commenced on June 8, 2017, when Plaintiffs submitted a

 6   Demand for Arbitration to the AAA/ICDR. This action has been ongoing in some form for almost

 7   5 years, testimony was obtained from multiple witnesses and hundreds of thousands of pages of

 8   documents were exchanged in the lead up to a nine-day evidentiary hearing. The appropriate time

 9   for this Court’s consideration of witness’s testimony and admissibility is at Trial, not from a
10   Motion in Limine requesting total exclusion of witnesses identified, thus in effect, an attempt at

11   dismissing this entire action. Parkridge will have ample opportunity to address each of Indyzen’s

12   witnesses at Trial and raise objections as it believes applicable.

13                  II.     EXCLUSION OF ALL WITNESSES IS OVERLY BROAD

14          At its core, the purpose of a Motion in Limine is to avoid the obviously futile attempt to

15   “unring the bell” when highly prejudicial evidence is offered and then stricken at trial. McEwen

16   v. City of Norman, Okla. (10th Cir. 1991) 926 F2d 1539, 1548. However, unless the evidence

17   is clearly inadmissible on all potential grounds, the court should defer ruling on a motion in

18   limine until trial. This Court “give[s] particularly wide latitude to the district court’s discretion

19   to issue sanctions under Rule 37(c)(1)” because subsection 37(c)(1) “is a recognized broadening

20   of the sanctioning power.” R.R. Sails, Inc. V. Insurance Co. of Pennsylvania 673 F.3d 1240, 1245
21   (9th Cir.2012) citing Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th

22   Cir.2001) (citations omitted); see also Hoffman v. Constr. Protective Servs., Inc., 541 F.3d 1175,

23   1178 (9th Cir.2008).

24          Pursuant to Rule 26(e)(1), the disclosing party must “supplement or correct its disclosure

25   or response ... in a timely manner if the party learns that in some material respect the disclosure

26   or response is incomplete or incorrect, and if the additional or corrective information has not
27   otherwise been made known to the other parties during the discovery process or in writing.” R.R.

28   Sails, 673 F.3d at 1246 (Fed.R.Civ.P. 26(e)(1) (emphasis added). “A major purpose” of the initial

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     OPPOSITION TO PARKRIDGE LIMITED’S MOTION IN LIMINE #1 TO EXCLUDE IMPROPERLY OR
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           Case 4:16-cv-07387-JSW Document 215 Filed 01/24/22 Page 3 of 4



 1   disclosure requirements “is to accelerate the exchange of basic information about the case and to

 2   eliminate the paperwork involved in requesting such information.” Id. citing Fed.R.Civ.P.

 3   26 advisory committee's note to 1993 Amendments.

 4             In the context of this litigation, there is no threat of surprise or undue prejudice because

 5   after almost five years of exposure to testimony, facts, witnesses, hundreds of thousands of pages

 6   of documents exchanged, nine-days of evidentiary hearings, Parkridge is well aware of the

 7   witnesses identified and the general subjects of their anticipated testimony. The information

 8   elicited from both testimony and documents exchanged in this action comports with FRCP

 9   26(e)(1) because regardless of the futility of amending an initial 26(a) disclosure would have been,
10   the relevant information had “otherwise been made known to the other parties during the

11   discovery process”.

12            III.   THE SANCTION REQUESTED AMOUNTS TO A DISMISSAL CLAIMS

13             In the event this Court concludes that FRCP 26(e) requirements were not satisfied because

14   the witness identification had not otherwise been made known to the other parties during the

15   discovery process, less harsh options are available to the Court. Under this circuit’s law, because

16   the sanction requested amounts to dismissal of a claim, the district is required to consider whether

17   the claimed noncompliance involved willfulness, fault, or bad faith, Sails, 673 F.3d at 1247

18   (internal citations omitted), and also to consider the availability of lesser sanctions. Id., See also,

19   e.g., Wendt v. Host Int'l, Inc., 125 F.3d 806, 814 (9th Cir.1997); Wanderer v. Johnston, 910 F.2d

20   652, 656 (9th Cir.1990). Alternatively, the court may deny the pretrial motion but preserve the
21   right to raise the evidentiary objections at trial. This way, questions of foundation, relevance and

22   potential prejudice may be resolved in full context. Hawthorne Partners v. AT & T Technologies,

23   Inc., 831 F.Supp at 1400; see also Forrest v. Beloit Corp. (3rd Cir. 2005) 424 F3d 344, 348.

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25   ///

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      OPPOSITION TO PARKRIDGE LIMITED’S MOTION IN LIMINE #1 TO EXCLUDE IMPROPERLY OR
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       Case 4:16-cv-07387-JSW Document 215 Filed 01/24/22 Page 4 of 4



 1                                      IV.    CONCLUSION

 2          For the foregoing reasons, Indyzen, Inc., respectfully requests that the Court deny

 3   Plaintiff’s motion in limine.

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 5   Date: January 18, 2022                   STRUCTURE LAW GROUP, LLP

 6

 7                                            By:     /s/ Christopher G. Addy
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10                                                  and PRAVEEN NARRA KUMAR

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     OPPOSITION TO PARKRIDGE LIMITED’S MOTION IN LIMINE #1 TO EXCLUDE IMPROPERLY OR
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